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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

                                                      )
UNITED STATES OF AMERICA, et al.,                     )
                                                      )
                         Plaintiffs,                  )
                                                      )
v.                                                    )   Civil Action No. 1:23-cv-10511-WGY
                                                      )
JETBLUE AIRWAYS CORPORATION and                       )
SPIRIT AIRLINES, INC.,                                )
                                                      )
                         Defendants.                  )
                                                      )
                                                      )

    DEFENDANTS’ SUPPLEMENTAL MOTION TO SEAL CERTAIN TRIAL EXHIBITS
      AND FOR LIMITED CLOSING OF COURTOOM TO PUBLIC DURING TRIAL

         Pursuant to the Joint Confidentiality Protocol for Party Documents (Dkt. No. 166) (the

“Joint Confidentiality Protocol”),1 Defendants JetBlue Airways Corporation and Spirit Airlines,

Inc. hereby move this Court for an Order to seal in their entirety certain highly sensitive trial

exhibits relating to Defendants’ future, post-merger network plans (the “Combined Network Plan

Documents”). The specific documents to be sealed and the reasons supporting the sealing are

articulated in Defendants’ Memorandum of Law in Support and the Declaration of Laura E.

Rodgers, which are being filed contemporaneously herewith. In addition, due to the highly

sensitive nature of these documents and the future plans contained therein, Defendants respectfully

request that the Court order that any witness examination likely to elicit the contents of the

Combined Network Plan Documents be held in a closed session. Finally, Defendants also request

that counsel be prohibited from publicly disclosing the contents of the Combined Network Plan




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    Approved by the Court via electronic order on September 12, 2023 (Dkt. No. 187).

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Documents at trial, including during opening or closing arguments, except with respect to the

limited, high-level information that was already made public in the parties’ pre-trial briefs.



Dated: October 25, 2023                              Respectfully submitted,

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                             LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1(a)(2), I hereby certify that on multiple occasions, Defendants

met and conferred in good faith with counsel for Plaintiffs to resolve issues related to the

confidentiality of the parties’ trial exhibits contemplated under the Joint Confidentiality Protocol.

                                                              /s/ Leila R. Siddiky
                                                              Leila R. Siddiky




                                 CERTIFICATE OF SERVICE

       I hereby certify that this document was filed through the ECF system on October 25, 2023,

and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.

                                                              /s/ Leila R. Siddiky
                                                              Leila R. Siddiky




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